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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA


DEMOCRATIC PARTY OF VIRGINIA,


                  Plaintiff,

       v.                                      Civil Docket No. 21-cv-671

FRANK VEAL, in his official capacity as the
South Atlantic Division Manager for the
United States Postal Service, GERALD
ROANE, in his official capacity as Virginia
District Manager of the United States Postal
Service,


                  Defendants.


DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION FOR
   TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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       Defendants Frank Veal, in his official capacity as the South Atlantic Division Manager for

the United States Postal Service, and Gerald Roane, in his official capacity as Virginia District

Manager of the United States Postal Service, pursuant to the Court’s October 25, 2021 Order (ECF

No. 12) submit this Memorandum in Opposition to Plaintiffs’ Emergency Motion for Temporary

Restraining order and Preliminary Injunction (ECF No. 8).

                                        INTRODUCTION

       The Postal Service is committed to serving its important role in the facilitation of the

Nation’s elections—and is committed to addressing and resolving any issues that do arise in the

processing of time-sensitive ballots. But Plaintiff’s allegations lack factual and legal merit, so the

Court should deny the emergency relief that Plaintiff seeks.

       This lawsuit appears to be based on a misunderstanding. Plaintiff filed this complaint on

the basis of third-party data that Plaintiff says shows that 40% of ballots in Albemarle County and

25% of ballots in the City of Portsmouth remain “unscanned” by the United States Postal Service.

Compl. ¶ 24. But the Postal Service has in place systems to conduct rigorous, daily checks of its

postal facilities to look for just this type of misplaced ballot. It has conducted these checks as

recently as today, and the Postal Service has not identified any such misplaced ballots. Moreover,

the Postal Service has been in regular contact with representatives from the Virginia Board of

Elections and local election registrars to identify any problems. The Postal Service talked with

representatives from Albemarle and the City of Portsmouth as recently as yesterday, October 25,

and neither of these representatives identified any issues with unscanned ballots. In short, the

Postal Service has processes in place to protect from—and if they occur, fix—precisely this

problem, and as of now, all known mail-in ballots in its possession are being expeditiously

processed and delivered.




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          The fundamental problem with this action is its factual premise. The status of Postal

Service operations and the existence of delays are empirical questions. The factual declarations

attached to this motion show that the Postal Service has in place methods to identify and to rectify

delays in the processing of election mail and that there is no current issue requiring extraordinary

relief.

          Because of that factual shortcoming, Plaintiff’s legal claims lack merit. Plaintiff invokes

the Anderson-Burdick framework, which governs the constitutionality of election laws, e.g., laws

affecting voter registration and eligibility, candidate selection, or the voting process itself.

Assuming, arguendo, that similar standards would govern the operations of the Postal Service in

an election context, Plaintiff has not shown that Virginia voters are or will be burdened by Postal

Service operations. It is reasonable to hold the Postal Service to high standards in the context of

its delivery of election mail, but Plaintiff has not met its burden to establish that the Postal Service

is failing to meet that standard.

          To be sure, Plaintiff contends that certain pieces of mail are difficult to track in the run-up

to the election. That is, in part, because the Postal Service has taken steps to expedite the

processing of election mail, skipping certain steps that might otherwise generate tracking data. But

that is suggestive of a system that is working, not a system requiring judicial supervision. The

Postal network is complex; requiring the Postal Service to modify its practices on the eve of an

election, based on the current evidentiary record, would frustrate existing plans and coordination

between Postal Service employees and state and local election officials, thereby imposing costs

that outweigh the potential benefit.

          Further, the balance of the equities counsels against Plaintiff’s requested relief. Plaintiff

requests an injunction requiring the Postal Service to guarantee that it will “deliver all election




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related mail within Virginia no later than three days after its entry into USPS’s system, and

“process all outstanding election-related mail in Albemarle County and the City of Portsmouth

within 24 hours of the entry of the Court’s order.” Although the Postal Service takes its obligations

seriously and has devised procedures to ensure that election mail is processed expeditiously, the

Postal Service operates a complex network. The Postal Service can guarantee that it will follow

its specified processes, but the broader guarantee sought by Plaintiff fails to account for the variety

of circumstances that cannot be anticipated in advance.

       For all of these reasons, Plaintiff’s motion should be denied.

                                         BACKGROUND

           A. USPS’s Virginia Election Plans and Procedures.

       The United States Postal Service has extensive plans and procedures to facilitate the timely

delivery of ballots in and beyond the Commonwealth of Virginia.               These plans begin by

establishing and using regular lines of communication between the Postal Service and members of

both the Virginia Department of Elections and Local Boards of Elections. See Ex. 1, Farmer Dec.

¶¶ 4, 5, 7. These communications are important both to ensure that the Postal Service’s plans for

the transportation and delivery of ballots meet the needs and expectations and local and

Commonwealth officials, and also ensures a clear channel to resolve any issues or problems as

they occur. See generally Farmer Dec. ¶¶ 4-7

       Those efforts continue as Election Mail is processed for delivery from election officials to

voters (for “outbound” ballots) and from voters to election officials (for “inbound” ballots). As

background, for absentee ballots, the mailing process begins when a voter requests a ballot from

their local election official, which then enters the ballot into the Postal Service system. Ex. 2,

Mcllwain Dec. ¶ 6. When the Postal Service receives a ballot from an elections office, the ballot




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is scanned into the Postal Service’s Intelligent Mail Barcode tracking data and flagged as Election

Mail. It is then sorted and either sent to a delivery unit for delivery to the voter, or, if it has a

farther distance to travel, transported to another plant for further processing. Mcllwain Dec. ¶ 6.

When a voter completes a ballot, it is returned to the elections office by First-Class Mail, unless

the voter chooses to pay for a premium service such as Priority Mail. Mcllwain Dec. ¶ 7.

        Employees at the Postal Service’s distribution centers and post offices are trained to

identify Election Mail, which may use the Postal Service’s official Election Mail logo, or come in

containers or trays with a special “Green Tag 191” affixed to them to indicate that they contain

ballots. Mcllwain Dec. ¶ 5.

        As part of the Postal Service’s policies and directives for handling Election Mail, the Postal

Service certifies on a daily basis that processing centers and post offices are “all clear” of Election

Mail. Mcllwain Dec. ¶ 9; Farmer Dec. ¶ 11. This process requires each facility processing Election

Mail to certify, on a daily basis, that it is clear of all Election Mail scheduled (or “committed”) for

delivery that day, and that any Election Mail committed for delivery the next day is at the front of

the line. Mcllwain Dec. ¶ 9; Farmer Dec. ¶ 11. More specifically, in order to complete this

certification, in-plant personnel use a checklist to search or “sweep” all locations in the Plant (e.g.,

manual operations, staging areas, docks, all delivery vehicles, all processing areas and trailers) to

ensure that all pieces of Election Mail in the processing center or post office’s possession are

accounted for and being processed correctly. This process allows the Postal Service to ensure that

there are no ballots in any unexpected locations, as well as to identify any ballots in the

mailstream that are not moving with sufficient speed. Mcllwain Dec. ¶ 9; Farmer Dec. ¶ 11. To

complete the “all clear” process, a Postal Service employee must certify that they have searched




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all areas of the facility for Election Mail, and either none was identified, or any that was identified

was dispatched. Mcllwain Dec. ¶ 10.

       The Postal Service also has special policies in place to further expedite the delivery of

ballots. Mcllwain Dec. ¶ 13. More specifically, it will take ballots out of its normal processing

(to “hold them out”) for expedited delivery to registrars, via a process that involves an expedited

approach to sorting ballots on the Postal Service’s processing equipment. While this process saves

time, because ballots slotted for local hold out bypass certain aspects of the Postal Service

processing system, they are not fully scanned in the same way as a typical mail-piece. Mcllwain

Dec. ¶ 13.

             B. Ballot Performance and Tracking in Virginia.

       As explained above, the Postal Service has extensive processes for identifying and tracking

ballots during the mailing process. The Postal Service takes seriously the allegations that Plaintiff

has raised, and has investigated extensively, to the extent time has allowed. It has not found any

evidence that the delays have approached the magnitude alleged by Plaintiff. Rather, the available

evidence indicates that the Election Mail process is proceeding normally, without unusual delays.

       First, as discussed above, the Postal Service certifies that processing plants and post offices

are “all clear” of Election Mail on a daily basis. The Postal Service implemented the all-clear

process on September 17, 2021 in mail processing plants, and on October 13, 2021 in the Postal

Service’s retail and delivery units in Virginia. The all clear process will continue through

November 16, 2021. Mcllwain Dec. ¶ 11; Farmer Dec. ¶ 11. To date, the Richmond Plant has

cleared Election Mail every day, including outbound ballots from Albemarle County and the City

of Portsmouth. Mcllwain Dec. ¶ 11. As of October 25, 2021, the post offices in Albemarle County

and the City of Portsmouth certified that those post offices have cleared Election Mail. Farmer




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Dec. ¶ 12. While Plaintiff has alleged that outbound ballots have been sitting unscanned in

processing plants for “weeks,” Compl. ¶ 1, the daily all-clear process would have captured any

such unscanned election mail. Farmer Dec. ¶ 12. At each of the Richmond Plant and the post

offices in Albemarle County and the City of Portsmouth, as of October 25, 2021, “[n]o ballots

were left on the plant floor, undelivered or stuck in the operations process. Ballots have been and

are being delivered in a timely manner. There is no backlog of undelivered ballots.” Mcllwain

Dec. ¶ 12.

       Second, the Postal Service regularly works with Commonwealth and Local Election

Officials as questions arise. Farmer Dec. ¶ 6. Any issues that were identified were promptly

resolved, and none of those issues were significant (i.e., any issues involved 50 ballots or fewer).

Farmer Dec. ¶ 6; see also id. ¶ 10 (describing minor issue reported in Albemarle County at the

start of October, involving a few ballots, which was immediately corrected without recurrence).

Furthermore, the Postal Service any online complaints that support Plaintiff’s allegations regarding

the number of unscanned ballots in Albemarle County and the City of Portsmouth, nor has it

received any communications from the relevant Boards of Election regarding the same. Farmer

Dec. ¶ 7. Indeed, the Postal Service spoke with the City of Portsmouth and Albemarle County

Registrars on October 25, 2021, and neither raised concerns about scanning rates. Farmer Dec. ¶¶

8-9.

       The Postal Service is investigating the data produced by Plaintiff to attempt to identify this

discrepancy. It has discussed with the Virginia State Board of Elections the “mismatch” between

the Postal Service’s own understanding of its mailflow and the scanning data used by the State

Department of Elections, which uses a third-party service provider called Ballot Scout/Democracy




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Works. Farmer Dec. ¶ 13. It appears that this third-party data is not consistent with the Postal

Service’s data. Farmer Dec. ¶¶ 14-16.

        In short, both daily physical searches of USPS facilities and regular communications with

those governmental officials best situated to identify any issues have not identified any serious

problem, and certainly not on the level that Plaintiff alleges.

           C. USPS’s Overall Operations.

        The Postal Service’s Election Mail efforts are undoubtedly important. At the same time,

they represent one part of its operational responsibilities, and a relatively small portion of overall

mail volume. The Postal Service is one of the nation’s largest and most complex business

operations, employing more than 630,000 employees, operating more than 31,000 Post Offices,

utilizing more than 204,000 delivery vehicles and 8,500 pieces of automated processing

equipment, and typically processing and delivering more than 450 million mailpieces to nearly

160 million delivery points each day. See USPS FY2019 Annual Report to Congress at 2, 7. 1

        Significant business operations, of course, entail significant costs, and “[t]he Postal

Service” therefore “needs effective and productive operations to fulfill its mission of providing

prompt, reliable, and affordable mail service to the American public.” See USPS OIG Audit Report

No. 19XG013NO00O-R20, “U.S. Postal Service’s Processing Network Optimization and Service

Impacts” (June 16, 2020)) at 1. 2 The Postal Service, with a few narrow exceptions, generally

receives no tax dollars for operating expenses and relies on the sale of postage, products, and

services to fund its operations. See Revenue Forgone, OIG Report, FT-AR-16-006 (2016), at 1. 3




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  https://about.usps.com/what/financials/annual-reports/fy2019.pdf.
2
  https://www.uspsoig.gov/sites/default/files/document-library-files/2020/19XG013NO000-
R20.pdf.
3
  https://www.uspsoig.gov/sites/default/files/document-library-files/2016/FT-AR-16-006.pdf.


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Although costs have always been a concern to the Postal Service, the financial position is now

dire. See USPS Five-Year Strategic Plan FY2020-FY2024) at 11-12. 4 “Since 2007, [USPS has]

suffered 13 years of consecutive net losses totaling $77.8 billion, with an $8.8 billion net loss in

2019 alone.” Id. at 12. 5

                                       LEGAL STANDARD

        Preliminary injunctive relief is “an extraordinary remedy that may only be awarded upon

a clear showing that the plaintiff is entitled to such relief.” Winter v. Natural Res. Def. Council,

Inc., 555 U.S. 7, 22 (2008). Under Winter, “the movant ‘must establish [1] that he is likely to

succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of preliminary

relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in the public

interest.’” Centro Tepeyac v. Montgomery Cnty., 722 F.3d 184, 188 (4th Cir. 2013) (quoting

Winter, 55 U.S. at 20). Each of these four factors must be satisfied to obtain preliminary injunctive

relief. Henderson v. Bluefield Hosp. Co., 902 F.3d 432, 439 (4th Cir. 2018). Consequently, if the

party seeking the injunction fails to make a clear showing of any one of the four factors, the Court

need not consider the remaining factors and must deny the preliminary injunction. See id. at 438–

39.




4
  https://about.usps.com/strategic-planning/five-year-strategic-plan-2020-2024.pdf
5
  In its brief, Plaintiff attempts to relitigate certain operational changes that occurred in 2020, none
of which is relevant to this case. See Pl.’s Mot. at 3-4. In any event, its allegations, which have
been the subject of extensive litigation over the past year in other courts, are incorrect. Overtime
has remained at similar levels, see Statement of Postmaster General and Chief Executive Officer
Louis DeJoy before the House Comm. on Oversight and Reform (Aug. 24, 2020)
https://about.usps.com/newsroom/testimony-speeches/082420-pmg-statement.htm, late trips have
not been prohibited, see, e.g., Nat. Ass’n for Advancement of Colored People v. United States
Postal Service, 496 F. Supp. 2d 1, 17 (D.D.C. 2020), and the Postal Service did not send letters
indicating that it intended to slow or delay delivery of Election Mail, or to otherwise alter its service
standards for Election Mail, see Pl.’s Ex. C.


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                                            ARGUMENT

I.      Plaintiff is not likely to succeed on the merits.

        A.      Plaintiff’s claim lacks factual merit.

        At core, Plaintiff’s request for emergency relief fails because the factual premise is based

on a misunderstanding rather than a showing of current operational deficiencies. As stated above,

the Postal Service takes seriously its obligations to support the Nation’s elections and stands ready

to resolve any bona fide issues that may arise. But in the absence of such issues, the Postal

Service’s current practices are appropriate.

        Plaintiff’s alleged harms are premised on the notion that there have been “significant delays

in the processing of election-related mail.” See Mot. at 1, 14–15 (asserting that Plaintiff faces

irreparable harm because mail delays could lead to voter disenfranchisement and impairment of

Plaintiff’s mission and programs). But, as explained above, Plaintiff’s Complaint is premised on

assumptions about mail delays that are based on a misunderstanding. See Background, supra. In

the absence of a factual demonstration that mail delays are likely to occur, Plaintiff cannot

demonstrate a substantial likelihood that it will succeed in a challenge to the timely delivery of the

mail.

             B. Plaintiff Plaintiff’s claim lacks legal merit.

        In the absence of a factual premise, Plaintiff lacks a legal basis for the remedies it is asking

the Court to impose. Plaintiff asks the Court to apply the Anderson-Burdick framework, which

courts have used to evaluate the constitutionality of state election laws. This Court need not decide

whether Anderson-Burdick applies in the different context presented here, because even if

Anderson-Burdick does apply, the Postal Service is processing election mail in Virginia in a timely




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and efficient manner, in coordination with the Virginia Board of Election. There is thus no cause,

on this record, to treat standard mail processing procedures as a constitutional violation.

       The Anderson-Burdick test arises from a body of precedent concerning the constitutionality

of state election laws. Although the legal bases for an Anderson-Burdick claim are the First and

Fourteenth Amendments, the test eschews the standard analyses applicable to claims under these

provisions. See Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997). Instead, the

test generally requires the Court to “weigh the ‘character and magnitude’ of the burden [a] State’s

rule imposes on those rights against the interests the State contends justify that burden.” Id.

(quoting Burdick v. Takushi, 504 U.S. 428, 434 (1992)).

       Multiple cases, including Anderson and Burdick, confirm that this test applies to election

laws; e.g., laws which “govern[] the registration and qualifications of voters, the selection and

eligibility of candidates, or the voting process itself.” Anderson v. Celebrezze, 460 U.S. 780, 788

(1983). Anderson arose in the context of “Constitutional challenges to specific provisions of a

State’s election laws.” Id. at 789 (emphasis added). Likewise, Burdick v. Takushi applied the test

to circumstances in which “[a] court [is] considering a challenge to a state election law.” 504 U.S.

428, 434 (1992) (emphasis added); see also id. (quoting Anderson balancing test, and noting that

“[u]nder this standard,” the Court “inquir[es] into the propriety of a state election law.” (emphasis

added)). The Supreme Court has repeatedly indicated that this test applies to actual election laws.

See, e.g., Timmons, 520 U.S. at 358; Wash. State Grange v. Wash. State Republican Party, 552

U.S. 442, 451–52 (2008).

       Assuming, arguendo, that Anderson-Burdick supplies the appropriate standard for

evaluating Plaintiff’s claim, Plaintiff has not demonstrated a likelihood of success on the merits.

When applying the Anderson-Burdick balancing framework, the Court must “first consider the




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character and magnitude of the asserted injury to the rights . . . that the plaintiff seeks to vindicate.”

Anderson, 460 U.S. at 789. The “rigorousness of [the Court’s] inquiry into the propriety of a state

election law”— assuming, arguendo, that USPS policy changes constitute “election law[s]”—

“depends upon the extent to which the challenged regulation burdens First and Fourteenth

Amendment rights.”        Burdick, 504 U.S. at 434.         Defendant must establish a compelling

government interest only if plaintiffs’ “rights are subjected to ‘severe’ restrictions,” id. (quoting

Norman v. Reed, 502 U.S. 279, 289 (1992)), such as those that effectively “disenfranchise [a]

class” of persons, Rosario v. Rockefeller, 410 U.S. 752, 757 (1973). Otherwise, for minimal,

“nondiscriminatory restrictions,” the defendant need only establish an “important regulatory

interest[].” Burdick, 504 U.S. at 434 (citation omitted).

        Burden. As a threshold matter, as noted above, Plaintiff’s central assertion—that USPS is

not prioritizing the processing and delivery of election mail—is incorrect. USPS is coordinating

with the relevant Board of Elections, and is working to ensure the efficient processing of election

mail in Virginia. Furthermore, there is no evidence that any mail has been delayed. Because

standard processes are being followed and no delays have been identified, there is no “severe

burden” on Plaintiff at this juncture.

        To be clear, the USPS need not guarantee that each and every piece of election mail in

Virginia—regardless of when it is mailed—will be processed and delivered by Virginia’s

designated deadlines. Normal mail delivery times are a part of the process, and voters are advised

to account for ordinary postal operations when voting by mail. See New Ga. Project, 976 F.3d

1282 (“Voters must simply take reasonable steps and exert some effort to ensure that their ballots

are submitted on time, whether through absentee or in-person voting.”).




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       Indeed, multiple Circuit courts have recently rejected theories suggesting that voters have

a right to request and mail a ballot at any particular time, and have expressly affirmed voting

deadlines that require an earlier vote. See, e.g., Common Cause v. Lawson, 977 F.3d 633, 664-65

(7th Cir. 2020) (rejecting the theory “that the Constitution entitles all persons who cast absentee

ballots to be free of any risk that the ballot will not count, even if they mail their ballots close to

Election Day,” and noting that “[p]eople who worry that mail will be delayed during the pandemic

can protect themselves by using early in-person voting or posting their ballots early”); Mays v.

LaRose, 951 F.3d 775, 792 (6th Cir. 2020) (rejecting theory that Ohio must allow for mail-in voting

registration fewer than three days before the election since “there is no constitutional right to an

absentee ballot,” “Ohio’s deadline . . . is nondiscriminatory,” and although “this law may eliminate

opportunities to vote for electors who fail to register before the deadline,” it “imposes only a

minimal burden on the right to vote”); Org. for Black Struggle v. Ashcroft, 978 F.3d 603, 608 (8th

Cir. 2020) (rejecting challenge to Missouri law that required mail-in ballots to be sent via USPS,

concluding that it “impose[d] a de minimis burden on voters if they are concerned that their ballots

will not be received by the election board on time” since “they simply may make arrangements to

put completed ballots in the mail earlier”); New Ga. Project, 976 F.3d at 1281–82 (rejecting

challenge to Georgia’s ballot-receipt deadline because, regardless of “delays in the postal service,”

voters “receive the ballots as early as 49 days before the election” and “can return their ballots

through the mail, hand-delivery, or a drop box,” and so the law required “[v]oters” to “simply take

reasonable steps and exert some effort to ensure that their ballots are submitted on time”).

       Regulatory Interests. “[W]hen a state election law provision imposes only ‘reasonable,

nondiscriminatory restrictions’ upon the First and Fourteen Amendment rights of voters,” in

contrast to a severe restriction, “‘the State’s important regulatory interests are generally sufficient




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to justify’ the restrictions.” Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 788); see

also Libertarian Party, 682 F.3d at 74 (drawing contrast between laws that subject voters rights to

“severe restrictions” and those impose only “reasonable, nondiscriminatory and need only be

justified by the government’s “important regulatory interests”). USPS’s determination may

therefore survive an Anderson-Burdick inquiry if justified by “general regulatory interests,” which

includes a desire to minimize “administrative costs.” Libertarian Party, 682 F.3d at 77. This is

true even if the plaintiff might “benefit” from a different USPS policy towards election mail. See

id. at 75 (noting that a minor party “would benefit from knowing how many people voted for its

candidate,” but the District’s refusal to provide such vote was merely “inconvenient” and thus

subject to the “important regulatory interest” standard). Here, the Postal Service had sound

economic rationales for its operational standards. Indeed, in its motion, Plaintiff makes no

argument for why the Postal Service would not satisfy the lesser “important regulatory interest”

standard.

       Plaintiffs’ legal theory could potentially require the Postal Service to guarantee that all

election mail must be processed and delivered within some abbreviated timeline. But there are

hundreds, if not thousands, of state and local elections throughout the year. 6 Requiring that the

Postal Service adopt this standard for each and every election would require the Postal Service to

dedicate extraordinary resources year-round for whatever elections may be held each month of

each year. Such a decision would, in effect, create an entirely separate category of mail, without

coordination with the Postal Regulatory Commission, the Postal Service’s regulator, or the




6
 See, e.g., Elections Calendar,
https://ballotpedia.org/Elections_calendar#Upcoming_election_dates (last accessed Apr. 8,
2021).


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Congress, to the detriment of the other important responsibilities of the Postal Service that would

be impacted by this extraordinary shift in resource allocation.

        Nor is it clear what the “trigger” for such a requirement would be. Plaintiffs point to

statistics concerning certain ballots that thus far have not been delivered to registered voters. See

PI Mot. at 3-4. But the Postal Service does not (and cannot) guarantee that every piece of mail is

delivered on time; such a promise would be an impossibility given the size of the Postal Service’s

network. See Nat’l Urban League v. DeJoy, Civ. A. No. GLR-20-2391, 2020 WL 6363959, at *9

(D. Md. Oct. 29, 2020) (“The Court could no sooner order Defendants to restore on-time

performance to 93.88% . . . than it could order a baseball player to achieve a .300 batting average

over his next several games. USPS’s on-time performance score is an holistic measure that reflects

the result of a combination of a host of factors, some internal to and controllable by USPS, and

some external and outside of USPS’s control. The Court cannot require a party to meet a measure

it can only partially control.”).

        Rather, service performance targets (such as 96 percent of First-Class Mail being delivered

on time) are just that—a target or goal—not a legal requirement. See, e.g., OIG Audit Report

(Mar. 5, 2021), at 3 (noting that “the Postal Service has not met its First-Class Mail service goal

in five years”). 7 Accordingly, USPS’s economic rationales for its current logistical policies and

practices justify any burden posed by incidental delays in the delivery of mail ballots. Plaintiffs

are therefore unlikely to prevail on their Anderson-Burdick claim. 8




7
  https://www.uspsoig.gov/sites/default/files/document-library-files/2021/20-318-R21.pdf.
8
  This brief addresses the appropriate analysis of the facts of this case under the Anderson-Burdick
test. The Department of Justice reserves comment on whether any other law, practice, or
procedure, in this jurisdiction or elsewhere, meets the Anderson-Burdick test or complies with
federal statutes designed to protect the right to vote, such as the Voting Rights Act.


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II.    Plaintiff cannot satisfy the other preliminary injunction factors.

       A.      Plaintiffs cannot demonstrate irreparable harm.

       Plaintiff cannot obtain an injunction without establishing that it is “likely to suffer

irreparable harm in the absence of preliminary relief.” Winter, 555 U.S. at 20. Plaintiff “must

make a clear showing of irreparable harm . . . and the required irreparable harm must be neither

remote nor speculative, but actual and imminent.” Scotts Co. v. United Indus. Corp., 315 F.3d

264, 283 (4th Cir. 2002).

       As an initial matter, Plaintiff’s delay in bringing this suit undercuts its claim of irreparable

injury. The Fourth Circuit has held that an unexcused delay in seeking extraordinary injunctive

relief may “indicate an absence of the kind of irreparable harm required to support a preliminary

injunction.” Quince Orchard Valley Citizens Ass’n, Inc. v. Hodel, 872 F.2d 75, 80 (4th Cir. 1989).

Here, Plaintiff’s complaint references the Postal Service’s 10-year plan, which was announced in

April 2021, see Compl. ¶ 16, and alleged mail delays that occurred in fiscal quarter ending in June

30, 2021, see id. ¶ 19, but Plaintiff waited until October 22, 2021—eleven days before the

upcoming election—to file its complaint. Moreover, after filing its complaint, Plaintiff then waited

three more days to file its motion for a temporary restraining order and preliminary injunction. By

contrast, the plaintiffs who brought suit against the Postal Service in the lead-up to the 2020

Election sought injunctive relief months before the election. See, e.g., Washington v. Trump, No.

20-cv-3127 (E.D. Wash.) (complaint filed August 18, 2020). Plaintiff does not explain why—if it

truly believed that mail delays were causing it irreparable harm—it did not bring suit sooner. See

Benisek v. Lamone, 138 S. Ct. 1942, 1944 (2018) (“a party requesting a preliminary injunction

must generally show reasonable diligence.”)

       This delay in bringing suit is not simply a technical issue. It is inherently related to this

Court’s ability to issue a workable temporary remedy that would be tailored to address the


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purported irreparable harms. With only eleven days until the election, the ability of USPS to

implement any injunction, let alone the sweeping one that Plaintiff requests, is sharply limited.

And the burden on USPS of attempting to disrupt its current election mail efforts in Virginia, which

have been planned in coordination with state officials for months, would be extraordinary.

Plaintiff has no explanation for this delay—unlike other litigants, Plaintiff did not attempt to

contact the Postal Service or undersigned counsel in advance of filing this motion to determine

whether the Postal Service had similarly identified a problem with election mail, or whether the

data that Plaintiff independently received was in fact accurate. Due to that delay, the Postal Service

was deprived of a meaningful opportunity to meet and confer with Plaintiff to attempt to resolve

Plaintiff’s concerns before filing suit.

        Setting aside Plaintiff’s unexplained delay in bringing its claims, Plaintiff also cannot

demonstrate an irreparable injury because it has not demonstrated a cognizable injury, as all of

Plaintiffs’ alleged harms assume “significant mail delays” that are not in fact borne out by the

evidence. See Section I.A, supra.

        B.      The balance of the equities counsels against Plaintiff’s requested injunction.

        Roughly a week before Virginia’s gubernatorial election—and roughly ten days before the

mail-in ballot receipt deadline—Plaintiff asks this Court to impose a compressed time-limit by

which the Postal Service must process and deliver an entire category of mail, and yet Plaintiff fails

to explain how the Postal Service can guarantee that it will meet this time limit for every piece of

mail. Nor could it. The Postal Service’s logistical network is complex, involving a number of

different steps and facilities, all of which impact when any single piece of mail will be delivered.

See OIG Audit Report (Apr. 12, 2019) (“The Richmond District has 74 delivery units, 1,415 city




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routes in the Delivery Operations Information System, and 1,064,670 city delivery points”). 9 For

example, mail received at a local facility is typically shuttled—usually by truck—to an initial

processing facility that handles all categories of mail, where it is then pushed through the logistical

chain until it reaches the local mail facility responsible for delivery to the destination. A delay

during any step in this process—which can be caused by any number of factors, including

employee unavailability, human error, or technological issues—can prevent a piece of mail from

being delivered by a certain date. 10

       Thus, it is practically impossible for the Postal Service to ensure that, through its long-

established logistical networks, “all election related mail within Virginia” will be delivered “no

later than three days after its entry into USPS’s system, and “all outstanding election-related mail

in Albemarle County and the City of Portsmouth” will be processed “within 24 hours of the entry

of the Court’s order.” PI Mot. at 2. Indeed, to comply with this type of injunction, and avoid a risk

of contempt, the Postal Service would potentially have to consider adopting ad hoc mail delivery

practices that stray from its current logistical processes for election mail and introduce new risks

in the system. This would impose a significant burden on the Postal Service, especially since it

would have to adopt these changes on a highly compressed timeline in light of the date of the

Virginia gubernatorial race. These burdens are not justified given Plaintiff’s delay in bringing suit,

and requesting this relief.




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  https://www.uspsoig.gov/sites/default/files/document-library-files/2019/DR-AR-19-005.pdf.
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   To be sure, the Postal Service never guarantees that each and every piece of mail will be
delivered within the target service standard. See OIG Audit Report,
https://www.uspsoig.gov/sites/default/files/document-library-files/2019/NO-AR-19-008.pdf
(“Service standards specify timeliness targets for delivering mail after receiving it from a
customer” and “the Postal Service” obviously “has not met” all of “its service performance
targets.”).


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       Further, and more fundamentally, Plaintiff’s requested injunction cannot meet the

requirements of Rule 65(d)(1), which requires that “[e]very order granting an injunction and every

restraining order must . . . state its terms specifically” and “describe in reasonable detail—and not

by referring to the complaint or other document—the act or acts restrained or required.” Here, of

course, the requested injunction only identifies a result, or an objective, but does not state the

precise operational changes that USPS must adopt to achieve that result. The Court therefore

should not, and cannot, issue Plaintiff’s requested injunction.

                                         CONCLUSION

       The Court should deny Plaintiff’s Motion for a Temporary Restraining Order and a

Preliminary Injunction.




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Dated: October 26, 2021    Respectfully submitted,

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                                CERTIFICATE OF SERVICE
       I certify that on October 26, 2021, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send a notification of such filing (NEF) to all

counsel of record.


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